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                              UNITED STATES DISTRICT COURT

                                      DISTRICT OF IDAHO


     DONALD N. DAIEN,                                    CV 09-22-S-REB

              Plaintiff,

              vs.                                        JUDGMENT

     BEN YSURSA, in his official capacity
     as Secretary of State of Idaho,

              Defendant.


       In accordance with the Memorandum Decision and Order filed with this Judgment,

       NOW THEREFORE IT IS HEREBY, ORDERED, ADJUDGED AND DECREED that

Plaintiff’s Motion for Summary Judgment (Docket No. ) is hereby GRANTED to the extent that the

following Idaho statutory provisions are declared unconstitutional:

       (1)      the requirement in Idaho Code § 34-1807 (2009) that individuals circulating petitions

                on behalf of independent presidential candidates be Idaho residents and

       (2)      the requirement for the number of signatures to be contained in nominating petitions

                for independent presidential candidates, as contained in Idaho Code § 34-708A

                (2009), insofar as they are distinct from the number of nominating signatures required

                for independent candidates for statewide offices in Idaho Code § 34-708 (2009).



                                      DATED: May 5, 2010




                                        Honorable Ronald E. Bush
                                        U. S. Magistrate Judge



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